
644 S.E.2d 5 (2007)
Linda P. CALHOUN, M.D.; Mark T. Murphy, M.D.; Hemantkumar Patel, M.D.; Praful N. Patel, M.D.; and J. Robinson Harper, Jr., M.D.
v.
WHA MEDICAL CLINIC, PLLC.
No. 479P06.
Supreme Court of North Carolina.
March 8, 2007.
John M. Martin, Greenville, Matthew W. Sawchak, Raleigh, for Calhoun, et al.
Noah H. Huffstetler, III, Catharine W. Cummer, Raleigh, Michael Murchison, Andrew K. McVey, Wilmington, for WHA Medical Clinic.

ORDER
Upon consideration of the petition filed on the 5th day of September 2006 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*6 "Denied by order of the Court in conference, this the 8th day of March 2007."
